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                         EXHIBIT B




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                                                                     IN THE CIRCUIT COURT OF THE
                                                                     SEVENTEENTH JUDICIAL CIRCUIT IN
                                                                     AND FOR BROWARD COUNTY, FLORIDA

                                                                     CIVIL DIVISION

                                                                     CASE NO:

        CHRISTIAN ALEXANDRE, a foreign
        individual,

                           Plaintiff,

        v.


        DAVID A. COVEN, an individual, and DAVID A.
        COVEN, P.A., a Florida professional association,
        THOMAS D. OATES, an individual, and THE
        LAW OFFICES OF OATES & OATES, P.A., a
        Florida professional association,


                    Defendants.
        __________________________________________/

                                  COMPLAINT AND DEMAND FOR JURY TRIAL

                 Plaintiff, CHRISTIAN ALEXANDRE (“Mr. Alexandre” or “Plaintiff”), sues Defendants,

        DAVID A. COVEN, Esq. (“Coven”), DAVID A. COVEN, P.A. (the “Coven Firm”) (together, the

        “Coven Defendants”), THOMAS D. OATES, Esq. (“Oates”), and THE LAW OFFICES OF

        OATES & OATES, P.A. (“Oates & Oates”) (together, the “Oates Defendants”), and in support

        thereof alleges as follows:

                                                         INTRODUCTION

                 1.        Exponentially over the past decade, “email compromise scams” have targeted

        attorneys and law firms throughout Florida and the United States, resulting in millions upon

        millions of dollars of stolen wires and trust funds. The FBI reports that from 2013 to 2018, more


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   than 40,000 victims lost nearly $3 billion to these scams. State bar associations across the country,

   including The Florida Bar, have warned attorneys and law firms about the prevalence of these

   scams. So have insurers that underwrite professional malpractice and cyberfraud policies.

            2.        Taking reasonable security measures is, quite simply, a duty that modern attorneys

   and fiduciaries shoulder, especially for large transfers.

            3.        Here, Defendants breached their duties.

            4.        Plaintiff brings this action to recover funds that were incorrectly wired as a result

   of the Defendants’ breach of fiduciary duty and/or negligence.

                                   PARTIES, JURISDICTION AND VENUE

            5.        This is an action for negligence and breach of fiduciary duty brought by Plaintiff

   against two attorneys and their respective law firms.

            6.        This Court has subject matter jurisdiction because the amount in controversy is

   greater than $30,000, exclusive of attorneys’ fees and costs.

            7.        Mr. Coven is an attorney doing business in Broward County, Florida.

            8.        The Coven Firm is a professional association doing business in Broward County,

   Florida.

            9.        Mr. Oates is an attorney doing business in Broward County, Florida.

            10.       Oates & Oates is a professional association doing business in Broward County,

   Florida.

            11.       Mr. Alexandre is a foreign individual, sui juris, who resides in Canada.

            12.       Venue is appropriate in Broward County, Florida because the Defendants reside

   and/or conduct business in Broward County.




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                                             FACTUAL BACKGROUND

            13.       In or around August of 2019, Plaintiff retained Oates and Oates & Oates in

   connection with the purchase of real property (the “Transaction”) located at 701 Pine Drive #111,

   Pompano Beach, Florida 33060 (the “Property”).

            14.       On or about August 5, 2019, Plaintiff and third-party LCSA Properties, LLC

   entered into that certain “AS IS” Residential Contract of Sale and Purchase (the “Contract”),

   attached hereto as Exhibit A, whereby Mr. Alexandre contracted to purchase real property (the

   “Transaction”) located at 701 Pine Drive #111, Pompano Beach, Florida 33060 (the “Property”).

            15.       Pursuant to the Contract, Mr. Coven was named as the “Escrow Agent” for the

   purchase of the Property. (Ex. A at ¶ 2).

            16.       Pursuant to the Contract, Plaintiff was required to make an initial deposit of

   $2,000.00 with three days of the execution of the contract, followed by an additional deposit of

   $3,000.00.

            17.       On September 3, 2019, Plaintiff received an email sent by an unknown third person

   or persons(s) (the “Unknown Person(s)”), but purporting to be from the Coven Firm, which

   instructed Plaintiff to wire the $120,000 balance that day, or the following day.

            18.       On or about September 5, 2019, Plaintiff received text messages from the Unknown

   Person(s) asking Plaintiff when he intended to wire the balance for the Transaction. A true and

   correct copy of the text messages are as follows:




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            19.       That same day, Plaintiff informed the Oates Defendants about the text messages,

   and forwarded a screenshot to the Oates Defendants via email.

            20.       On September 9, 2019, Plaintiff received another email from the Unknown

   Person(s) asking Plaintiff to confirm his receipt of the September 5 text messages:




            21.       That same day, Plaintiff again contacted the Oates Defendants via email for counsel

   on whether he should respond to the text messages.

            22.       The Oates Defendants knew or should have known that such communications were

   suspicious and improper because the Florida Bar’s Rules of Professionalism, specifically Rule 4-

   4.2, forbid a lawyer from communicating “about the subject of the representation with a person

   the lawyer knows to be represented by another lawyer in the matter, unless the lawyer has the
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   consent of the other lawyer.”

            23.       On September 9, 2019, rather than contact the Coven Defendants directly to inquire

   about the suspicious text messages or to give the instruction themselves not to contact their client

   directly, the Oates Defendants instead instructed Plaintiff to respond with “all correspondences

   need to be sent to my attorneys office. You may cc me.”

            24.       Plaintiff responded to the Unknown Person(s) with the exact language suggested

   by the Oates Defendants.

            25.       On or about September 16, 2019, pursuant to instructions received via separate e-

   mails purporting to be from the Covens Defendants and the Oates Defendants, Plaintiff wired

   $120,000.00 for the purchase of the Property.

            26.       The wire was sent to a Chase Bank account (the “Account”) that, according to the

   above-referenced e-mails, purportedly belonged to Oates & Oates. At that time, the Plaintiff had

   no reason to believe that the wire had not been received by Oates & Oates.

            27.       Unfortunately, the Account did not belong to Oates & Oates, but rather to Unknown

   Person(s).

            28.       Plaintiff has engaged the law firm of Levine Kellogg Lehman Schneider +

   Grossman LLP to represent it in this action and is obligated to pay a reasonable fee for services

   rendered.

            29.       All conditions precedent to the filing of this action have occurred, have been

   performed or have otherwise been waived.

                       COUNT I: NEGLIGENT BREACH OF FIDUCIARY DUTY
                                   (As to the Coven Defendants)

            30.       Plaintiff restates and realleges the allegations in paragraphs 1 through 29 as if fully

   set forth herein.

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            31.       As the escrow agent entrusted with the Transaction and Mr. Alexandre’s funds, the

   Coven Defendants owed a fiduciary duty to Mr. Alexandre, including but not limited to the duty

   of care and the duty to exercise reasonable skill and ordinary diligence in receiving, holding and

   delivering possession of escrow funds.

            32.       The Coven Defendants breached these duties and fell below the reasonable standard

   of care by, among other breaches:

                      a.       Failing to ensure that Mr. Alexandre’s funds would be safely received;

                      b.       Failing to take reasonable safeguards to protect Mr. Alexandre’s funds;

                      c.       Failing to ensure the confidentiality of communications sent and received

                               by electronic means through the Coven Defendants’ email accounts;

                      d.       Failing to properly monitor the Coven Defendants’ email accounts;

                      e.       Failing to supervise employees or co-workers tasked with assisting with the

                               Transaction;

                      f.       Failing to prevent unauthorized access to Mr. Alexandre’s financial

                               information and/or confidential commercial information; and/or

                      g.       Failing to take reasonable mitigating actions after gaining actual knowledge

                               of the compromise the Coven Defendants’ email accounts;

            33.       As a direct and proximate result of Coven’s acts and/or omissions in services

   performed in Coven’s fiduciary capacity, Mr. Alexandre suffered substantial damages in excess of

   $120,000.00.

            34.       These damages may include, inter alia, privacy injury and identity theft, a security

   breach and/or network damage.

            WHEREFORE, Plaintiff respectfully requests entry of judgment against the Coven


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   Defendants for damages including but not limited to consequential damages, prejudgment interest,

   costs, and such other and further relief as this Court deems just and proper.

                                              COUNT II: NEGLIGENCE
                                             (As to the Coven Defendants)

            35.       Plaintiff restates and realleges the allegations in paragraphs 1 through 29 as if fully

   set forth herein.

            36.       The Coven Defendants provided escrow agent services to Mr. Alexandre relating

   to the Transaction and the purchase of the Property.

            37.       In doing so, the Coven Defendants owed a duty to utilize such skill, prudence, care

   and diligence as escrow agents of similar experience and skill commonly exercised in the

   performance of similar representation.

            38.       Additionally, as an attorney and escrow agent who regularly provided legal services

   for real estate transactions, closings and other large financial transactions, and who regularly

   performed some or all of those legal services electronically, Coven owed Mr. Alexandre a

   heightened duty to use the judgment, care, skill and diligence commonly provided by other escrow

   agents in the performance of these types of services, and should have been aware of the risks

   associated with electronic transactions.

            39.       The Coven Defendants breached these duties and fell below the reasonable standard

   of care by,

   among other breaches:

                      h.       Failing to ensure that Mr. Alexandre’s funds would be safely received;

                      i.       Failing to take reasonable safeguards to protect Mr. Alexandre’s funds;

                      j.       Failing to ensure the confidentiality of communications sent and received

                               by electronic means through the Coven Defendants’ email accounts;

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                      k.       Failing to properly monitor the Coven Defendants’ email accounts;

                      l.       Failing to supervise employees or co-workers tasked with assisting with the

                               Transaction;

                      m.       Failing to prevent unauthorized access to Mr. Alexandre’s financial

                               information and/or confidential commercial information; and/or

                      n.       Failing to take reasonable mitigating actions after gaining actual knowledge

                               of the compromise the Coven Defendants’ email accounts.

            40.       As a direct and proximate result of the Coven Defendants’ acts and/or omissions in

   services performed in the Coven Defendants’ capacity as escrow agent, Mr. Alexandre suffered

   substantial damages in excess of $120,000.00.

            41.       These damages may include, inter alia, privacy injury and identity theft, a security

   breach and/or network damage.

            WHEREFORE, Plaintiff respectfully requests entry of judgment against the Coven

   Defendants for damages including but not limited to consequential damages, prejudgment interest,

   costs, and such other and further relief as this Court deems just and proper.

                                             COUNT III: NEGLIGENCE
                                             (As to the Oates Defendants)

            42.       Plaintiff restates and realleges the allegations in paragraphs 1 through 29 as if fully

   set forth herein.

            43.       Oates and Oates & Oates undertook a duty to serve as Mr. Alexandre’s legal

   counsel in connection with his purchase of the Property.

            44.       In doing so, Oates and Oates & Oates owed a duty to utilize such skill, prudence,

   care and diligence as escrow agents of similar experience and skill commonly exercised in the

   performance of similar undertakings.

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            45.       Additionally, having regularly provided legal services for real estate transactions,

   closings and other large financial transactions, and who regularly performed some or all of those

   legal services electronically, Oates and Oates & Oates owed Mr. Alexandre a heightened duty to

   use the judgment, care, skill and diligence commonly provided by other attorneys in the

   performance of these types of services, and should have been aware of the risks associated with

   electronic transactions, including the transfer of funds by wire.

            46.       The Oates Defendants breached these duties and fell below the reasonable standard

   of care by, among other breaches:

                      a.       Failing to advise Mr. Alexandre about the risks associated with electronic

                               transactions, including the transfer of funds by wire;

                      b.       Failing ensure that Mr. Alexandre’s funds would be safely delivered;

                      c.       Failing to take reasonable safeguards to protect Mr. Alexandre’s funds;

                      d.       Failing to ensure the confidentiality of communications sent and received

                               by electronic means through the Oates Defendants’ email accounts;

                      e.       Failing to properly monitor the Oates Defendants’ email accounts;

                      f.       Failing to supervise employees or co-workers tasked with assisting with the

                               Transaction;

                      g.       Failing to directly contact Coven and the Coven Firm after being informed

                               by Mr. Alexandre that the Coven Firm communicated directly with Mr.

                               Alexandre;

                      h.       Failing to adequately review the communications sent by Unknown

                               Person(s) to Mr. Alexandre, which were forwarded to Oates and Oates &

                               Oates;


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                      i.       Failing to prevent unauthorized access to Mr. Alexandre’s financial

                               information and/or confidential commercial information; and/or

                      j.       Failing to take reasonable mitigating actions after gaining actual knowledge

                               of Mr. Alexandre’s wire to the Account.

            47.       As a direct and proximate result of the Oates Defendants’ acts and/or omissions in

   legal services performed by Oates and Oates & Oates, Mr. Alexandre suffered substantial damages

   in excess of $120,000.00.

            48.       These damages may include, inter alia, privacy injury and identity theft, a security

   breach and/or network damage.

            WHEREFORE, Plaintiff respectfully requests entry of judgment against the Oates

   Defendants for damages including but not limited to consequential damages, prejudgment interest,

   costs, and such other and further relief as this Court deems just and proper.

                                           DEMAND FOR JURY TRIAL

            Plaintiff demands trial by a jury of his peers on all issues so triable.

   Dated: October 2, 2020                                            Respectfully submitted,

                                                                     LEVINE KELLOGG LEHMAN
                                                                     SCHNEIDER + GROSSMAN LLP
                                                                     Counsel for Plaintiff
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                                                                     By: /s/ Stephanie Reed Traband
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      53       5. EXTENSION OF CLOSING DATE:
      54          (a) If Paragraph 8(b) is checked and Closing funds from Buyer’s lender(s) are not available on Closing Date due
      55               to Consumer Financial Protection Bureau Closing Disclosure delivery requirements (“CFPB Requirements”),
      56               then Closing Date shall be extended for such period necessary to satisfy CFPB Requirements, provided such
      57               period shall not exceed 10 days.
      58          (b) If an event constituting “Force Majeure” causes services essential for Closing to be unavailable, including the
      59               unavailability of utilities or issuance of hazard, wind, flood or homeowners’ insurance, Closing Date shall be
      60               extended as provided in STANDARD G.
      61       6. OCCUPANCY AND POSSESSION:
      62          (a) Unless the box in Paragraph 6(b) is checked, Seller shall, at Closing, deliver occupancy and possession of the
      63               Property to Buyer free of tenants, occupants and future tenancies. Also, at Closing, Seller shall have removed
      64               all personal items and trash from the Property and shall deliver all keys, garage door openers, access devices
      65               and codes, as applicable, to Buyer. If occupancy is to be delivered before Closing, Buyer assumes all risks of
      66               loss to the Property from date of occupancy, shall be responsible and liable for maintenance from that date,
      67               and shall be deemed to have accepted the Property in its existing condition as of time of taking occupancy.
      68          (b)      CHECK IF PROPERTY IS SUBJECT TO LEASE(S) OR OCCUPANCY AFTER CLOSING. If Property is
      69               subject to a lease(s) after Closing or is intended to be rented or occupied by third parties beyond Closing, the
      70               facts and terms thereof shall be disclosed in writing by Seller to Buyer and copies of the written lease(s) shall
      71               be delivered to Buyer, all within 5 days after Effective Date. If Buyer determines, in Buyer’s sole discretion, that
      72               the lease(s) or terms of occupancy are not acceptable to Buyer, Buyer may terminate this Contract by delivery
      73               of written notice of such election to Seller within 5 days after receipt of the above items from Seller, and Buyer
      74               shall be refunded the Deposit thereby releasing Buyer and Seller from all further obligations under this Contract.
      75               Estoppel Letter(s) and Seller’s affidavit shall be provided pursuant to STANDARD D. If Property is intended to
      76               be occupied by Seller after Closing, see Rider U. POST-CLOSING OCCUPANCY BY SELLER.
      77       7. ASSIGNABILITY: (CHECK ONE): Buyer                may assign and thereby be released from any further liability under
      78          this Contract;      may assign but not be released from liability under this Contract; or          may not assign this
      79          Contract.
      80                                                                           FINANCING
      81       8. FINANCING:
      82             (a) Buyer will pay cash for the purchase of the Property at Closing. There is no financing contingency to Buyer’s
      83          obligation to close. If Buyer obtains a loan for any part of the Purchase Price of the Property, Buyer acknowledges
      84          that any terms and conditions imposed by Buyer’s lender(s) or by CFPB Requirements shall not affect or extend
      85          the Buyer’s obligation to close or otherwise affect any terms or conditions of this Contract.
      86             (b) This Contract is contingent upon Buyer obtaining approval of a          conventional     FHA     VA or   other
      87          ______________ (describe) loan within _______ (if left blank, then 30) days after Effective
                                                                                                            f      Date (“Loan Approval
      88          Period”) for (CHECK ONE):          fixed,   adjustable,   fixed or adjustable rate in the Loan Amount (See Paragraph
      89          2(c)), at an initial interest rate not to exceed _______ % (if left blank, then prevailing rate based upon Buyer’s
      90          creditworthiness), and for a term of _______(if left blank, then 30) years (“Financing”).
      91                (i) Buyer shall make mortgage loan application for the Financing within _______ (if left blank, then 5) days
      92          after Effective Date and use good faith and diligent effort to obtain approval of a loan meeting the Financing terms
      93          (“Loan Approval”) and thereafter to close this Contract. Loan Approval which requires a condition related to the sale
      94          by Buyer of other property shall not be deemed Loan Approval for purposes of this subparagraph.
      95             Buyer’s failure to use diligent effort to obtain Loan Approval during the Loan Approval Period shall be considered a
      96             default under the terms of this Contract. For purposes of this provision, “diligent effort” includes, but is not limited
      97             to, timely furnishing all documents and information and paying of all fees and charges requested by Buyer’s
      98             mortgage broker and lender in connection with Buyer’s mortgage loan application.
      99                   (ii) Buyer shall keep Seller and Broker fully informed about the status of Buyer’s mortgage loan application,
     100             Loan Approval, and loan processing and authorizes Buyer’s mortgage broker, lender, and Closing Agent to disclose
     101             such status and progress, and release preliminary and finally executed closing disclosures and settlement
     102             statements, to Seller and Broker.
     103                   (iii) Upon Buyer obtaining Loan Approval, Buyer shall promptly deliver written notice of such approval to Seller.
     104                   (iv) If Buyer is unable to obtain Loan Approval after the exercise of diligent effort, then at any time prior to
     105             expiration of the Loan Approval Period, Buyer may provide written notice to Seller stating that Buyer has been
     106             unable to obtain Loan Approval and has elected to either:
     107                     (1) waive Loan Approval, in which event this Contract will continue as if Loan Approval had been obtained; or
     108                     (2) terminate this Contract.
                                      CA
               Buyer’s Initials _________
                                    08/04/19     __________                       Page 2 of 12                              Seller’s Initials _
                                                                                                                                              __________
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     109                   (v) If Buyer fails to timely deliver either notice provided in Paragraph 8(b)(iii) or (iv), above, to Seller prior to
     110             expiration of the Loan Approval Period, then Loan Approval shall be deemed waived, in which event this Contract
     111             will continue as if Loan Approval had been obtained, provided however, Seller may elect to terminate this Contract
     112             by delivering written notice to Buyer within 3 days after expiration of the Loan Approval Period.
     113                   (vi) If this Contract is timely terminated as provided by Paragraph 8(b)(iv)(2) or (v), above, and Buyer is not in
     114             default under the terms of this Contract, Buyer shall be refunded the Deposit thereby releasing Buyer and Seller
     115             from all further obligations under this Contract.
     116                   (vii) If Loan Approval has been obtained, or deemed to have been obtained, as provided above, and Buyer
     117             fails to close this Contract, then the Deposit shall be paid to Seller unless failure to close is due to: (1) Seller’s
     118             default or inability to satisfy other contingencies of this Contract; (2) Property related conditions of the Loan Approval
     119             have not been met (except when such conditions are waived by other provisions of this Contract); or (3) appraisal
     120             of the Property obtained by Buyer’s lender is insufficient to meet terms of the Loan Approval, in which event(s) the
     121             Buyer shall be refunded the Deposit, thereby releasing Buyer and Seller from all further obligations under this
     122             Contract.
     123
       3                 (c) Assumption of existing mortgage (see rider for terms).
     124
       4                 (d) Purchase money note and mortgage to Seller (see riders; addenda; or special clauses for terms).
     125                                                     CLOSING COSTS, FEES AND CHARGES
     126       9. CLOSING COSTS; TITLE INSURANCE; SURVEY; HOME WARRANTY; SPECIAL ASSESSMENTS:
     127          (a) COSTS TO BE PAID BY SELLER:
     128           • Documentary stamp taxes and surtax on deed, if any                     • HOA/Condominium Association estoppel fees
     129           • Owner’s Policy and Charges (if Paragraph 9(c)(i) is checked) • Recording and other fees needed to cure title
     130           • Title search charges (if Paragraph 9(c)(iii) is checked)               • Seller’s attorneys’ fees
     131           • Municipal lien search (if Paragraph 9(c)(i) or (iii) is checked)       • Other:
     132               If, prior to Closing, Seller is unable to meet the AS IS Maintenance Requirement as required by Paragraph 11
     133               a sum equal to 125% of estimated costs to meet the AS IS Maintenance Requirement shall be escrowed at
     134               Closing. If actual costs to meet the AS IS Maintenance Requirement exceed escrowed amount, Seller shall pay
     135               such actual costs. Any unused portion of escrowed amount(s) shall be returned to Seller.
     136          (b) COSTS TO BE PAID BY BUYER:
     137           • Taxes and recording fees on notes and mortgages                          • Loan expenses
     138           • Recording fees for deed and financing statements                         • Appraisal fees
     139           • Owner’s Policy and Charges (if Paragraph 9(c)(ii) is checked)            • Buyer’s Inspections
     140           • Survey (and elevation certification, if required)                        • Buyer’s attorneys’ fees
     141           • Lender’s title policy and endorsements                                   • All property related insurance
     142           • HOA/Condominium Association application/transfer fees                    • Owner’s Policy Premium (if Paragraph
     143           • Municipal lien search (if Paragraph 9(c)(ii) is checked)                   9 (c)(iii) is checked.)
     144           • Other:
     145          (c) TITLE EVIDENCE AND INSURANCE: At least ______            5    (if left blank, then 15, or if Paragraph 8(a) is checked,
     146               then 5) days prior to Closing Date (“Title Evidence Deadline”), a title insurance commitment issued by a Florida
     147               licensed title insurer, with legible copies of instruments listed as exceptions attached thereto (“Title
     148               Commitment”) and, after Closing, an owner’s policy of title insurance (see STANDARD A for terms) shall be
     149               obtained and delivered to Buyer. If Seller has an owner’s policy of title insurance covering the Real Property, a
     150               copy shall be furnished to Buyer and Closing Agent within 5 days after Effective Date. The owner’s title policy
     151               premium, title search and closing services (collectively, “Owner’s Policy and Charges”) shall be paid, as set
     152               forth below. The title insurance premium charges for the owner’s policy and any lender’s policy will be calculated
     153               and allocated in accordance with Florida law, but may be reported differently on certain federally mandated
     154               closing disclosures and other closing documents. For purposes of this Contract “municipal lien search” means a
     155               search of records necessary for the owner’s policy of title insurance to be issued without exception for unrecorded
     156               liens imposed pursuant to Chapters 159 or 170, F.S., in favor of any governmental body, authority or agency.
     157               (CHECK ONE):
     158                   (i) Seller shall designate Closing Agent and pay for Owner’s Policy and Charges, and Buyer shall pay the
     159               premium for Buyer’s lender’s policy and charges for closing services related to the lender’s policy,
     160               endorsements and loan closing, which amounts shall be paid by Buyer to Closing Agent or such other
     161               provider(s) as Buyer may select; or
     162                   (ii) Buyer shall designate Closing Agent and pay for Owner’s Policy and Charges and charges for closing
     163               services related to Buyer’s lender’s policy, endorsements and loan closing; or


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     164                      (iii) [MIAMI-DADE/BROWARD REGIONAL PROVISION]: Seller shall furnish a copy of a prior owner’s policy
     165                 of title insurance or other evidence of title and pay fees for: (A) a continuation or update of such title evidence,
     166                 which is acceptable to Buyer’s title insurance underwriter for reissue of coverage; (B) tax search; and (C)
     167                 municipal lien search. Buyer shall obtain and pay for post-Closing continuation and premium for Buyer’s owner’s
     168                 policy, and if applicable, Buyer’s lender’s policy. Seller shall not be obligated to pay more than $_
                                                                                                                            $_____________
     169                 (if left blank, then $200.00) for abstract continuation or title search ordered or performed by Closing Agent.
     170             (d) SURVEY: On or before Title Evidence Deadline, Buyer may, at Buyer’s expense, have the Real Property
     171                 surveyed and certified by a registered Florida surveyor (“Survey”). If Seller has a survey covering the Real
     172                 Property, a copy shall be furnished to Buyer and Closing Agent within 5 days after Effective Date.
     173             (e) HOME WARRANTY: At Closing,               Buyer      Seller     N/A shall pay for a home warranty plan issued by
     174                 ___________________________________________
                         _                                                        __ at a cost not to exceed $_________________. A home
     175                 warranty plan provides for repair or replacement of many of a home’s mechanical systems and major built-in
     176                 appliances in the event of breakdown due to normal wear and tear during the agreement’s warranty period.
     177             (f) SPECIAL ASSESSMENTS: At Closing, Seller shall pay: (i) the full amount of liens imposed by a public body
     178                 (“public body” does not include a Condominium or Homeowner’s Association) that are certified, confirmed and
     179                 ratified before Closing; and (ii) the amount of the public body’s most recent estimate or assessment for an
     180                 improvement which is substantially complete as of Effective Date, but that has not resulted in a lien being
     181                 imposed on the Property before Closing. Buyer shall pay all other assessments. If special assessments may
     182                 be paid in installments (CHECK ONE):
     183                      (a) Seller shall pay installments due prior to Closing and Buyer shall pay installments due after Closing.
     184                 Installments prepaid or due for the year of Closing shall be prorated.
     185                      (b) Seller shall pay the assessment(s) in full prior to or at the time of Closing.
     186                 IF NEITHER BOX IS CHECKED, THEN OPTION (a) SHALL BE DEEMED SELECTED.
     187                 This Paragraph 9(f) shall not apply to a special benefit tax lien imposed by a community development district
     188                 (CDD) pursuant to Chapter 190, F.S., which lien shall be prorated pursuant to STANDARD K.
     189                                                                      DISCLOSURES
     190       10. DISCLOSURES:
     191           (a) RADON GAS: Radon is a naturally occurring radioactive gas that, when it is accumulated in a building in
     192               sufficient quantities, may present health risks to persons who are exposed to it over time. Levels of radon that
     193               exceed federal and state guidelines have been found in buildings in Florida. Additional information regarding
     194               radon and radon testing may be obtained from your county health department.
     195           (b) PERMITS DISCLOSURE: Except as may have been disclosed by Seller to Buyer in a written disclosure, Seller
     196               does not know of any improvements made to the Property which were made without required permits or made
     197               pursuant to permits which have not been properly closed. If Seller identifies permits which have not been
     198               properly closed or improvements which were not permitted, then Seller shall promptly deliver to Buyer all plans,
     199               written documentation or other information in Seller’s possession, knowledge, or control relating to
     200               improvements to the Property which are the subject of such open permits or unpermitted improvements.
     201           (c) MOLD: Mold is naturally occurring and may cause health risks or damage to property. If Buyer is concerned or
     202               desires additional information regarding mold, Buyer should contact an appropriate professional.
     203           (d) FLOOD ZONE; ELEVATION CERTIFICATION: Buyer is advised to verify by elevation certificate which flood
     204               zone the Property is in, whether flood insurance is required by Buyer’s lender, and what restrictions apply to
     205               improving the Property and rebuilding in the event of casualty. If Property is in a “Special Flood Hazard Area”
     206               or “Coastal Barrier Resources Act” designated area or otherwise protected area identified by the U.S. Fish and
     207               Wildlife Service under the Coastal Barrier Resources Act and the lowest floor elevation for the building(s) and/or
     208               flood insurance rating purposes is below minimum flood elevation or is ineligible for flood insurance coverage
     209               through the National Flood Insurance Program or private flood insurance as defined in 42 U.S.C. §4012a, Buyer
     210               may terminate this Contract by delivering written notice to Seller within _____ (if left blank, then 20) days after
     211               Effective Date, and Buyer shall be refunded the Deposit thereby releasing Buyer and Seller from all further
     212               obligations under this Contract, failing which Buyer accepts existing elevation of buildings and flood zone
     213               designation of Property. The National Flood Insurance Program may assess additional fees or adjust premiums
     214               for pre-Flood Insurance Rate Map (pre-FIRM) non-primary structures (residential structures in which the insured
     215               or spouse does not reside for at least 50% of the year) and an elevation certificate may be required for actuarial
     216               rating.
     217           (e) ENERGY BROCHURE: Buyer acknowledges receipt of Florida Energy-Efficiency Rating Information Brochure
     218               required by Section 553.996, F.S.


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     219             (f) LEAD-BASED PAINT: If Property includes pre-1978 residential housing, a lead-based paint disclosure is
     220                 mandatory.
     221             (g) HOMEOWNERS’ ASSOCIATION/COMMUNITY DISCLOSURE: BUYER SHOULD NOT EXECUTE THIS
     222                 CONTRACT           UNTIL     BUYER       HAS       RECEIVED        AND     READ         THE      HOMEOWNERS’
     223                 ASSOCIATION/COMMUNITY DISCLOSURE, IF APPLICABLE.
     224             (h) PROPERTY TAX    A DISCLOSURE SUMMARY: BUYER SHOULD NOT RELY ON THE SELLER’S CURRENT
     225                 PROPERTY TAXES AS THE AMOUNT OF PROPERTY TAXES THAT THE BUYER MAY BE OBLIGATED TO
     226                 PAY IN THE YEAR SUBSEQUENT TO PURCHASE. A CHANGE OF OWNERSHIP OR PROPERTY
     227                 IMPROVEMENTS TRIGGERS REASSESSMENTS OF THE PROPERTY THAT COULD RESULT IN HIGHER
     228                 PROPERTY TAXES. IF YOU HAVE ANY QUESTIONS CONCERNING VALUATION, CONTACT THE
     229                 COUNTY PROPERTY APPRAISER’S OFFICE FOR INFORMATION.
     230             (i) FOREIGN INVESTMENT IN REAL PROPERTY TAX ACT (“FIRPTA”): Seller shall inform Buyer in writing if
     231                 Seller is a “foreign person” as defined by the Foreign Investment in Real Property Tax Act (“FIRPTA”). Buyer
     232                 and Seller shall comply with FIRPTA, which may require Seller to provide additional cash at Closing. If Seller
     233                 is not a “foreign person”, Seller can provide Buyer, at or prior to Closing, a certification of non-foreign status,
     234                 under penalties of perjury, to inform Buyer and Closing Agent that no withholding is required. See STANDARD
     235                 V for further information pertaining to FIRPTA. Buyer and Seller are advised to seek legal counsel and tax
     236                 advice regarding their respective rights, obligations, reporting and withholding requirements pursuant to
     237                 FIRPTA.
     238             (j) SELLER DISCLOSURE: Seller knows of no facts materially affecting the value of the Real Property which are
     239                 not readily observable and which have not been disclosed to Buyer. Except as provided for in the preceding
     240                 sentence, Seller extends and intends no warranty and makes no representation of any type, either express or
     241                 implied, as to the physical condition or history of the Property. Except as otherwise disclosed in writing Seller
     242                 has received no written or verbal notice from any governmental entity or agency as to a currently uncorrected
     243                 building, environmental or safety code violation.
     244                                 PROPERTY MAINTENANCE, CONDITION, INSPECTIONS AND EXAMINATIONS
     245       11. PROPERTY MAINTENANCE: Except for ordinary wear and tear and Casualty Loss, Seller shall maintain the
     246           Property, including, but not limited to, lawn, shrubbery, and pool, in the condition existing as of Effective Date (“AS
     247           IS Maintenance Requirement”).

     248       12. PROPERTY INSPECTION; RIGHT TO CANCEL:
     249           (a) PROPERTY INSPECTIONS AND RIGHT TO CANCEL: Buyer shall have ______                   10    (if left blank, then 15)
     250               days after Effective Date (“Inspection Period”) within which to have such inspections of the Property
     251               performed as Buyer shall desire during the Inspection Period. If Buyer determines, in Buyer’s sole
     252               discretion, that the Property is not acceptable to Buyer, Buyer may terminate this Contract by delivering
     253               written notice of such election to Seller prior to expiration of Inspection Period. If Buyer timely
     254               terminates this Contract, the Deposit paid shall be returned to Buyer, thereupon, Buyer and Seller shall
     255               be released of all further obligations under this Contract; however, Buyer shall be responsible for
     256               prompt payment for such inspections, for repair of damage to, and restoration of, the Property resulting
     257               from such inspections, and shall provide Seller with paid receipts for all work done on the Property (the
     258               preceding provision shall survive termination of this Contract). Unless Buyer exercises the right to
     259               terminate granted herein, Buyer accepts the physical condition of the Property and any violation of
     260               governmental, building, environmental, and safety codes, restrictions, or requirements, but subject to
     261               Seller’s continuing AS IS Maintenance Requirement, and Buyer shall be responsible for any and all
     262               repairs and improvements required by Buyer’s lender.
     263           (b) WALK-THROUGH INSPECTION/RE-INSPECTION: On the day prior to Closing Date, or on Closing Date prior
     264               to time of Closing, as specified by Buyer, Buyer or Buyer’s representative may perform a walk-through (and
     265               follow-up walk-through, if necessary) inspection of the Property solely to confirm that all items of Personal
     266               Property are on the Property and to verify that Seller has maintained the Property as required by the AS IS
     267               Maintenance Requirement and has met all other contractual obligations.
     268           (c) SELLER ASSISTANCE AND COOPERATION IN CLOSE-OUT OF BUILDING PERMITS: If Buyer’s inspection
     269               of the Property identifies open or needed building permits, then Seller shall promptly deliver to Buyer all plans,
     270               written documentation or other information in Seller’s possession, knowledge, or control relating to
     271               improvements to the Property which are the subject of such open or needed Permits, and shall promptly
     272               cooperate in good faith with Buyer’s efforts to obtain estimates of repairs or other work necessary to resolve
     273               such Permit issues. Seller’s obligation to cooperate shall include Seller’s execution of necessary
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     274                 consents, or other documents necessary for Buyer to conduct inspections and have estimates of such repairs
     275                 or work prepared, but in fulfilling such obligation, Seller shall not be required to expend, or become obligated to
     276                 expend, any money.
     277             (d) ASSIGNMENT OF REPAIR AND TREATMENT CONTRACTS AND WARRANTIES: At Buyer’s option and
     278                 cost, Seller will, at Closing, assign all assignable repair, treatment and maintenance contracts and warranties
     279                 to Buyer.
     280                                                                ESCROW AGENT AND BROKER
     281       13. ESCROW AGENT: Any Closing Agent or Escrow Agent (collectively “Agent”) receiving the Deposit, other funds
     282           and other items is authorized, and agrees by acceptance of them, to deposit them promptly, hold same in escrow
     283           within the State of Florida and, subject to COLLECTION, disburse them in accordance with terms and conditions
     284           of this Contract. Failure of funds to become COLLECTED shall not excuse Buyer’s performance. When conflicting
     285           demands for the Deposit are received, or Agent has a good faith doubt as to entitlement to the Deposit, Agent may
     286           take such actions permitted by this Paragraph 13, as Agent deems advisable. If in doubt as to Agent’s duties or
     287           liabilities under this Contract, Agent may, at Agent’s option, continue to hold the subject matter of the escrow until
     288           the parties agree to its disbursement or until a final judgment of a court of competent jurisdiction shall determine
     289           the rights of the parties, or Agent may deposit same with the clerk of the circuit court having jurisdiction of the
     290           dispute. An attorney who represents a party and also acts as Agent may represent such party in such action. Upon
     291           notifying all parties concerned of such action, all liability on the part of Agent shall fully terminate, except to the
     292           extent of accounting for any items previously delivered out of escrow. If a licensed real estate broker, Agent will
     293           comply with provisions of Chapter 475, F.S., as amended and FREC rules to timely resolve escrow disputes through
     294           mediation, arbitration, interpleader or an escrow disbursement order.
     295           In any proceeding between Buyer and Seller wherein Agent is made a party because of acting as Agent hereunder,
     296           or in any proceeding where Agent interpleads the subject matter of the escrow, Agent shall recover reasonable
     297           attorney’s fees and costs incurred, to be paid pursuant to court order out of the escrowed funds or equivalent. Agent
     298           shall not be liable to any party or person for mis-delivery of any escrowed items, unless such mis-delivery is due to
     299           Agent’s willful breach of this Contract or Agent’s gross negligence. This Paragraph 13 shall survive Closing or
     300           termination of this Contract.
     301       14. PROFESSIONAL ADVICE; BROKER LIABILITY: Broker advises Buyer and Seller to verify Property condition,
     302           square footage, and all other facts and representations made pursuant to this Contract and to consult appropriate
     303           professionals for legal, tax, environmental, and other specialized advice concerning matters affecting the Property
     304           and the transaction contemplated by this Contract. Broker represents to Buyer that Broker does not reside on the
     305           Property and that all representations (oral, written or otherwise) by Broker are based on Seller representations or
     306           public records. BUYER AGREES TO RELY SOLELY ON SELLER, PROFESSIONAL INSPECTORS AND
     307           GOVERNMENTAL AGENCIES FOR VERIFICATION OF PROPERTY CONDITION, SQUARE FOOTAGE AND
     308           FACTS THAT MATERIALLY AFFECT PROPERTY VALUE AND NOT ON THE REPRESENTATIONS (ORAL,
     309           WRITTEN OR OTHERWISE) OF BROKER. Buyer and Seller (individually, the “Indemnifying Party”) each
     310           individually indemnifies, holds harmless, and releases Broker and Broker’s officers, directors, agents and
     311           employees from all liability for loss or damage, including all costs and expenses, and reasonable attorney’s fees at
     312           all levels, suffered or incurred by Broker and Broker’s officers, directors, agents and employees in connection with
     313           or arising from claims, demands or causes of action instituted by Buyer or Seller based on: (i) inaccuracy of
     314           information provided by the Indemnifying Party or from public records; (ii) Indemnifying Party’s misstatement(s) or
     315           failure to perform contractual obligations; (iii) Broker’s performance, at Indemnifying Party’s request, of any task
     316           beyond the scope of services regulated by Chapter 475, F.S., as amended, including Broker’s referral,
     317           recommendation or retention of any vendor for, or on behalf of, Indemnifying Party; (iv) products or services
     318           provided by any such vendor for, or on behalf of, Indemnifying Party; and (v) expenses incurred by any such vendor.
     319           Buyer and Seller each assumes full responsibility for selecting and compensating their respective vendors and
     320           paying their other costs under this Contract whether or not this transaction closes. This Paragraph 14 will not relieve
     321           Broker of statutory obligations under Chapter 475, F.S., as amended. For purposes of this Paragraph 14, Broker
     322           will be treated as a party to this Contract. This Paragraph 14 shall survive Closing or termination of this Contract.
     323                                                      DEFAULT AND DISPUTE RESOLUTION
     324       15. DEFAULT:
     325           (a) BUYER DEFAULT: If Buyer fails, neglects or refuses to perform Buyer’s obligations under this Contract,
     326               including payment of the Deposit, within the time(s) specified, Seller may elect to recover and retain the Deposit
     327               for the account of Seller as agreed upon liquidated damages, consideration for execution off tthis
                                                                                                                        h s Contract, and
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     328               in full settlement of any claims, whereupon Buyer and Seller shall be relieved from all furthe
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     329                 this Contract, or Seller, at Seller’s option, may, pursuant to Paragraph 16, proceed in equity to enforce Seller’s
     330                 rights under this Contract. The portion of the Deposit, if any, paid to Listing Broker upon default by Buyer, shall
     331                 be split equally between Listing Broker and Cooperating Broker; provided however, Cooperating Broker’s share
     332                 shall not be greater than the commission amount Listing Broker had agreed to pay to Cooperating Broker.
     333           (b) SELLER DEFAULT: If for any reason other than failure of Seller to make Seller’s title marketable after
     334                 reasonable diligent effort, Seller fails, neglects or refuses to perform Seller’s obligations under this Contract,
     335                 Buyer may elect to receive return of Buyer’s Deposit without thereby waiving any action for damages resulting
     336                 from Seller’s breach, and, pursuant to Paragraph 16, may seek to recover such damages or seek specific
     337                 performance.
     338           This Paragraph 15 shall survive Closing or termination of this Contract.
     339       16. DISPUTE RESOLUTION: Unresolved controversies, claims and other matters in question between Buyer and
     340           Seller arising out of, or relating to, this Contract or its breach, enforcement or interpretation (“Dispute”) will be settled
     341           as follows:
     342           (a) Buyer and Seller will have 10 days after the date conflicting demands for the Deposit are made to attempt to
     343                 resolve such Dispute, failing which, Buyer and Seller shall submit such Dispute to mediation under Paragraph
     344                 16(b).
     345           (b) Buyer and Seller shall attempt to settle Disputes in an amicable manner through mediation pursuant to Florida
     346                 Rules for Certified and Court-Appointed Mediators and Chapter 44, F.S., as amended (the “Mediation Rules”).
     347                 The mediator must be certified or must have experience in the real estate industry. Injunctive relief may be
     348                 sought without first complying with this Paragraph 16(b). Disputes not settled pursuant to this Paragraph 16
     349                 may be resolved by instituting action in the appropriate court having jurisdiction of the matter. This Paragraph
     350                 16 shall survive Closing or termination of this Contract.
     351       17. ATTORNEY’S FEES; COSTS: The parties will split equally any mediation fee incurred in any mediation permitted
     352           by this Contract, and each party will pay their own costs, expenses and fees, including attorney’s fees, incurred in
     353           conducting the mediation. In any litigation permitted by this Contract, the prevailing party shall be entitled to recover
     354           from the non-prevailing party costs and fees, including reasonable attorney’s fees, incurred in conducting the
     355           litigation. This Paragraph 17 shall survive Closing or termination of this Contract.
     356                                         STANDARDS FOR REAL ESTATE TRANSACTIONS (“STANDARDS”)
     357       18. STANDARDS:
     358           A. TITLE:
     359           (i) TITLE EVIDENCE; RESTRICTIONS; EASEMENTS; LIMITATIONS: Within the time period provided in
     360           Paragraph 9(c), the Title Commitment, with legible copies of instruments listed as exceptions attached thereto, shall
     361           be issued and delivered to Buyer. The Title Commitment shall set forth those matters to be discharged by Seller at
     362           or before Closing and shall provide that, upon recording of the deed to Buyer, an owner’s policy of title insurance
     363           in the amount of the Purchase Price, shall be issued to Buyer insuring Buyer’s marketable title to the Real Property,
     364           subject only to the following matters: (a) comprehensive land use plans, zoning, and other land use restrictions,
     365           prohibitions and requirements imposed by governmental authority; (b) restrictions and matters appearing on the
     366           Plat or otherwise common to the subdivision; (c) outstanding oil, gas and mineral rights of record without right of
     367           entry; (d) unplatted public utility easements of record (located contiguous to real property lines and not more than
     368           10 feet in width as to rear or front lines and 7 1/2 feet in width as to side lines); (e) taxes for year of Closing and
     369           subsequent years; and (f) assumed mortgages and purchase money mortgages, if any (if additional items, attach
     370           addendum); provided, that, none prevent use of Property for RESIDENTIAL PURPOSES. If there exists at Closing
     371           any violation of items identified in (b) – (f) above, then the same shall be deemed a title defect. Marketable title shall
     372           be determined according to applicable Title Standards adopted by authority of The Florida Bar and in accordance
     373           with law.
     374           (ii) TITLE EXAMINATION: Buyer shall have 5 days after receipt of Title Commitment to examine it and notify Seller
     375           in writing specifying defect(s), if any, that render title unmarketable. If Seller provides Title Commitment and it is
     376           delivered to Buyer less than 5 days prior to Closing Date, Buyer may extend Closing for up to 5 days after date of
     377           receipt to examine same in accordance with this STANDARD A. Seller shall have 30 days (“Cure Period”) after
     378           receipt of Buyer’s notice to take reasonable diligent efforts to remove defects. If Buyer fails to so notify Seller, Buyer
     379           shall be deemed to have accepted title as it then is. If Seller cures defects within Cure Period, Seller will deliver
     380           written notice to Buyer (with proof of cure acceptable to Buyer and Buyer’s attorney) and the parties will close this
     381           Contract on Closing Date (or if Closing Date has passed, within 10 days after Buyer’s receipt of Seller’s notice). If
     382           Seller is unable to cure defects within Cure Period, then Buyer may, within 5 days after expiration of Cure Period,




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                                       STANDARDS FOR REAL ESTATE TRANSACTIONS (“STANDARDS”) CONTINUED
     383             deliver written notice to Seller: (a) extending Cure Period for a specified period not to exceed 120 days within which
     384             Seller shall continue to use reasonable diligent effort to remove or cure the defects (“Extended Cure Period”); or
     385             (b) electing to accept title with existing defects and close this Contract on Closing Date (or if Closing Date has
     386             passed, within the earlier of 10 days after end of Extended Cure Period or Buyer’s receipt of Seller’s notice), or (c)
     387             electing to terminate this Contract and receive a refund of the Deposit, thereby releasing Buyer and Seller from all
     388             further obligations under this Contract. If after reasonable diligent effort, Seller is unable to timely cure defects, and
     389             Buyer does not waive the defects, this Contract shall terminate, and Buyer shall receive a refund of the Deposit,
     390             thereby releasing Buyer and Seller from all further obligations under this Contract.
     391             B. SURVEY: If Survey discloses encroachments on the Real Property or that improvements located thereon
     392             encroach on setback lines, easements, or lands of others, or violate any restrictions, covenants, or applicable
     393             governmental regulations described in STANDARD A (i)(a), (b) or (d) above, Buyer shall deliver written notice of
     394             such matters, together with a copy of Survey, to Seller within 5 days after Buyer’s receipt of Survey, but no later
     395             than Closing. If Buyer timely delivers such notice and Survey to Seller, such matters identified in the notice and
     396             Survey shall constitute a title defect, subject to cure obligations of STANDARD A above. If Seller has delivered a
     397             prior survey, Seller shall, at Buyer’s request, execute an affidavit of “no change” to the Real Property since the
     398             preparation of such prior survey, to the extent the affirmations therein are true and correct.
     399             C. INGRESS AND EGRESS: Seller represents that there is ingress and egress to the Real Property and title to
     400             the Real Property is insurable in accordance with STANDARD A without exception for lack of legal right of access.
     401             D. LEASE INFORMATION: Seller shall, at least 10 days prior to Closing, furnish to Buyer estoppel letters from
     402             tenant(s)/occupant(s) specifying nature and duration of occupancy, rental rates, advanced rent and security
     403             deposits paid by tenant(s) or occupant(s)(“Estoppel Letter(s)”). If Seller is unable to obtain such Estoppel Letter(s)
     404             the same information shall be furnished by Seller to Buyer within that time period in the form of a Seller’s affidavit
     405             and Buyer may thereafter contact tenant(s) or occupant(s) to confirm such information. If Estoppel Letter(s) or
     406             Seller’s affidavit, if any, differ materially from Seller’s representations and lease(s) provided pursuant to Paragraph
     407             6, or if tenant(s)/occupant(s) fail or refuse to confirm Seller’s affidavit, Buyer may deliver written notice to Seller
     408             within 5 days after receipt of such information, but no later than 5 days prior to Closing Date, terminating this
     409             Contract and receive a refund of the Deposit, thereby releasing Buyer and Seller from all further obligations under
     410             this Contract. Seller shall, at Closing, deliver and assign all leases to Buyer who shall assume Seller’s obligations
     411             thereunder.
     412             E. LIENS: Seller shall furnish to Buyer at Closing an affidavit attesting (i) to the absence of any financing
     413             statement, claims of lien or potential lienors known to Seller and (ii) that there have been no improvements or
     414             repairs to the Real Property for 90 days immediately preceding Closing Date. If the Real Property has been
     415             improved or repaired within that time, Seller shall deliver releases or waivers of construction liens executed by all
     416             general contractors, subcontractors, suppliers and materialmen in addition to Seller’s lien affidavit setting forth
     417             names of all such general contractors, subcontractors, suppliers and materialmen, further affirming that all charges
     418             for improvements or repairs which could serve as a basis for a construction lien or a claim for damages have been
     419             paid or will be paid at Closing.
     420             F. TIME: Calendar days shall be used in computing time periods. Time is of the essence in this Contract. Other
     421             than time for acceptance and Effective Date as set forth in Paragraph 3, any time periods provided for or dates
     422             specified in this Contract, whether preprinted, handwritten, typewritten or inserted herein, which shall end or occur
     423             on a Saturday, Sunday, or a national legal holiday (see 5 U.S.C. 6103) shall extend to 5:00 p.m. (where the Property
     424             is located) of the next business day.
     425             G. FORCE MAJEURE: Buyer or Seller shall not be required to perform any obligation under this Contract or be
     426             liable to each other for damages so long as performance or non-performance of the obligation, or the availability of
     427             services, insurance or required approvals essential to Closing, is disrupted, delayed, caused or prevented by Force
     428             Majeure. “Force Majeure” means: hurricanes, floods, extreme weather, earthquakes, fire, or other acts of God,
     429             unusual transportation delays, or wars, insurrections, or acts of terrorism, which, by exercise of reasonable diligent
     430             effort, the non-performing party is unable in whole or in part to prevent or overcome. All time periods, including
     431             Closing Date, will be extended a reasonable time up to 7 days after the Force Majeure no longer prevents
     432             performance under this Contract, provided, however, if such Force Majeure continues to prevent performance under
     433             this Contract more than 30 days beyond Closing Date, then either party may terminate this Contract by delivering
     434             written notice to the other and the Deposit shall be refunded to Buyer, thereby releasing Buyer and Seller from all
     435             further obligations under this Contract.
     436             H. CONVEYANCE: Seller shall convey marketable title to the Real Property by statutory warranty, trustee’s,
     437             personal representative’s, or guardian’s deed, as appropriate to the status of Seller, subject only to matters
     438             described in STANDARD A and those accepted by Buyer. Personal Property shall, at request of Buyer, be



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                                       STANDARDS FOR REAL ESTATE TRANSACTIONS (“STANDARDS”) CONTINUED
     439             transferred by absolute bill of sale with warranty of title, subject only to such matters as may be provided for in this
     440             Contract.
     441             I. CLOSING LOCATION; DOCUMENTS; AND PROCEDURE:
     442             (i) LOCATION: Closing will be conducted by the attorney or other closing agent (“Closing Agent”) designated by
     443             the party paying for the owner’s policy of title insurance and will take place in the county where the Real Property
     444             is located at the office of the Closing Agent, or at such other location agreed to by the parties. If there is no title
     445             insurance, Seller will designate Closing Agent. Closing may be conducted by mail, overnight courier, or electronic
     446             means.
     447             (ii) CLOSING DOCUMENTS: Seller shall at or prior to Closing, execute and deliver, as applicable, deed, bill of
     448             sale, certificate(s) of title or other documents necessary to transfer title to the Property, construction lien affidavit(s),
     449             owner’s possession and no lien affidavit(s), and assignment(s) of leases. Seller shall provide Buyer with paid
     450             receipts for all work done on the Property pursuant to this Contract. Buyer shall furnish and pay for, as applicable,
     451             the survey, flood elevation certification, and documents required by Buyer’s lender.
     452             (iii) FinCEN GTO NOTICE. If Closing Agent is required to comply with the U.S. Treasury Department’s
     453             Financial Crimes Enforcement Network (“FinCEN”) Geographic Targeting Orders (“GTOs”), then Buyer
     454             shall provide Closing Agent with the information related to Buyer and the transaction contemplated by this
     455             Contract that is required to complete IRS Form 8300, and Buyer consents to Closing Agent’s collection and
     456             report of said information to IRS.
     457             (iv) PROCEDURE: The deed shall be recorded upon COLLECTION of all closing funds. If the Title Commitment
     458             provides insurance against adverse matters pursuant to Section 627.7841, F.S., as amended, the escrow closing
     459             procedure required by STANDARD J shall be waived, and Closing Agent shall, subject to COLLECTION of all
     460             closing funds, disburse at Closing the brokerage fees to Broker and the net sale proceeds to Seller.
     461             J. ESCROW CLOSING PROCEDURE: If Title Commitment issued pursuant to Paragraph 9(c) does not provide
     462             for insurance against adverse matters as permitted under Section 627.7841, F.S., as amended, the following
     463             escrow and closing procedures shall apply: (1) all Closing proceeds shall be held in escrow by the Closing Agent
     464             for a period of not more than 10 days after Closing; (2) if Seller’s title is rendered unmarketable, through no fault of
     465             Buyer, Buyer shall, within the 10 day period, notify Seller in writing of the defect and Seller shall have 30 days from
     466             date of receipt of such notification to cure the defect; (3) if Seller fails to timely cure the defect, the Deposit and all
     467             Closing funds paid by Buyer shall, within 5 days after written demand by Buyer, be refunded to Buyer and,
     468             simultaneously with such repayment, Buyer shall return the Personal Property, vacate the Real Property and re-
     469             convey the Property to Seller by special warranty deed and bill of sale; and (4) if Buyer fails to make timely demand
     470             for refund of the Deposit, Buyer shall take title as is, waiving all rights against Seller as to any intervening defect
     471             except as may be available to Buyer by virtue of warranties contained in the deed or bill of sale.
     472             K. PRORATIONS; CREDITS: The following recurring items will be made current (if applicable) and prorated as of
     473             the day prior to Closing Date, or date of occupancy if occupancy occurs before Closing Date: real estate taxes
     474             (including special benefit tax assessments imposed by a CDD), interest, bonds, association fees, insurance, rents
     475             and other expenses of Property. Buyer shall have option of taking over existing policies of insurance, if assumable,
     476             in which event premiums shall be prorated. Cash at Closing shall be increased or decreased as may be required
     477             by prorations to be made through day prior to Closing. Advance rent and security deposits, if any, will be credited
     478             to Buyer. Escrow deposits held by Seller’s mortgagee will be paid to Seller. Taxes shall be prorated based on
     479             current year’s tax. If Closing occurs on a date when current year’s millage is not fixed but current year’s assessment
     480             is available, taxes will be prorated based upon such assessment and prior year’s millage. If current year’s
     481             assessment is not available, then taxes will be prorated on prior year’s tax. If there are completed improvements
     482             on the Real Property by January 1st of year of Closing, which improvements were not in existence on January 1st
     483             of prior year, then taxes shall be prorated based upon prior year’s millage and at an equitable assessment to be
     484             agreed upon between the parties, failing which, request shall be made to the County Property Appraiser for an
     485             informal assessment taking into account available exemptions. In all cases, due allowance shall be made for the
     486             maximum allowable discounts and applicable homestead and other exemptions. A tax proration based on an
     487             estimate shall, at either party’s request, be readjusted upon receipt of current year’s tax bill. This STANDARD K
     488             shall survive Closing.
     489             L. ACCESS TO PROPERTY TO CONDUCT APPRAISALS, INSPECTIONS, AND WALK-THROUGH: Seller
     490             shall, upon reasonable notice, provide utilities service and access to Property for appraisals and inspections,
     491             including a walk-through (or follow-up walk-through if necessary) prior to Closing.
     492             M. RISK OF LOSS: If, after Effective Date, but before Closing, Property is damaged by fire or other casualty
     493             (“Casualty Loss”) and cost of restoration (which shall include cost of pruning or removing damaged trees) does not
     494             exceed 1.5% of Purchase Price, cost of restoration shall be an obligation of Seller and Closing shall proceed
     495             pursuant to terms of this Contract. If restoration is not completed as of Closing, a sum equal to 125% of estimated

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                                       STANDARDS FOR REAL ESTATE TRANSACTIONS (“STANDARDS”) CONTINUED
     496             cost to complete restoration (not to exceed 1.5% of Purchase Price) will be escrowed at Closing. If actual cost of
     497             restoration exceeds escrowed amount, Seller shall pay such actual costs (but, not in excess of 1.5% of Purchase
     498             Price). Any unused portion of escrowed amount shall be returned to Seller. If cost of restoration exceeds 1.5% of
     499             Purchase Price, Buyer shall elect to either take Property “as is” together with the 1.5%, or receive a refund of the
     500             Deposit thereby releasing Buyer and Seller from all further obligations under this Contract. Seller’s sole obligation
     501             with respect to tree damage by casualty or other natural occurrence shall be cost of pruning or removal.
     502             N. 1031 EXCHANGE: If either Seller or Buyer wish to enter into a like-kind exchange (either simultaneously with
     503             Closing or deferred) under Section 1031 of the Internal Revenue Code (“Exchange”), the other party shall cooperate
     504             in all reasonable respects to effectuate the Exchange, including execution of documents; provided, however,
     505             cooperating party shall incur no liability or expense related to the Exchange, and Closing shall not be contingent
     506             upon, nor extended or delayed by, such Exchange.
     507             O. CONTRACT NOT RECORDABLE; PERSONS BOUND; NOTICE; DELIVERY; COPIES; CONTRACT
     508             EXECUTION: Neither this Contract nor any notice of it shall be recorded in any public records. This Contract shall
     509             be binding on, and inure to the benefit of, the parties and their respective heirs or successors in interest. Whenever
     510             the context permits, singular shall include plural and one gender shall include all. Notice and delivery given by or to
     511             the attorney or broker (including such broker’s real estate licensee) representing any party shall be as effective as
     512             if given by or to that party. All notices must be in writing and may be made by mail, personal delivery or electronic
     513             (including “pdf”) media. A facsimile or electronic (including “pdf”) copy of this Contract and any signatures hereon
     514             shall be considered for all purposes as an original. This Contract may be executed by use of electronic signatures,
     515             as determined by Florida’s Electronic Signature Act and other applicable laws.
     516             P. INTEGRATION; MODIFICATION: This Contract contains the full and complete understanding and agreement
     517             of Buyer and Seller with respect to the transaction contemplated by this Contract and no prior agreements or
     518             representations shall be binding upon Buyer or Seller unless included in this Contract. No modification to or change
     519             in this Contract shall be valid or binding upon Buyer or Seller unless in writing and executed by the parties intended
     520             to be bound by it.
     521             Q. WAIVER: Failure of Buyer or Seller to insist on compliance with, or strict performance of, any provision of this
     522             Contract, or to take advantage of any right under this Contract, shall not constitute a waiver of other provisions or
     523             rights.
     524             R. RIDERS; ADDENDA; TYPEWRITTEN OR HANDWRITTEN PROVISIONS: Riders, addenda, and typewritten
     525             or handwritten provisions shall control all printed provisions of this Contract in conflict with them.
     526             S. COLLECTION or COLLECTED: “COLLECTION” or “COLLECTED” means any checks tendered or
     527             received, including Deposits, have become actually and finally collected and deposited in the account of
     528             Escrow Agent or Closing Agent. Closing and disbursement of funds and delivery of closing documents
     529             may be delayed by Closing Agent until such amounts have been COLLECTED in Closing Agent’s accounts.
     530             T. RESERVED.
     531             U. APPLICABLE LAW AND VENUE: This Contract shall be construed in accordance with the laws of the State
     532             of Florida and venue for resolution of all disputes, whether by mediation, arbitration or litigation, shall lie in the
     533             county where the Real Property is located.
     534             V. FIRPTA TAX WITHHOLDING: If a seller of U.S. real property is a “foreign person” as defined by FIRPTA,
     535             Section 1445 of the Internal Revenue Code (“Code”) requires the buyer of the real property to withhold up to 15%
     536             of the amount realized by the seller on the transfer and remit the withheld amount to the Internal Revenue Service
     537             (IRS) unless an exemption to the required withholding applies or the seller has obtained a Withholding Certificate
     538             from the IRS authorizing a reduced amount of withholding.
     539             (i) No withholding is required under Section 1445 of the Code if the Seller is not a “foreign person”. Seller can
     540             provide proof of non-foreign status to Buyer by delivery of written certification signed under penalties of perjury,
     541             stating that Seller is not a foreign person and containing Seller’s name, U.S. taxpayer identification number and
     542             home address (or office address, in the case of an entity), as provided for in 26 CFR 1.1445-2(b). Otherwise, Buyer
     543             shall withhold the applicable percentage of the amount realized by Seller on the transfer and timely remit said funds
     544             to the IRS.
     545             (ii) If Seller is a foreign person and has received a Withholding Certificate from the IRS which provides for reduced
     546             or eliminated withholding in this transaction and provides same to Buyer by Closing, then Buyer shall withhold the
     547             reduced sum required, if any, and timely remit said funds to the IRS.
     548             (iii) If prior to Closing Seller has submitted a completed application to the IRS for a Withholding Certificate and has
     549             provided to Buyer the notice required by 26 CFR 1.1445-1(c) (2)(i)(B) but no Withholding Certificate has been
     550             received as of Closing, Buyer shall, at Closing, withhold the applicable percentage of the amount realized by Seller
     551             on the transfer and, at Buyer’s option, either (a) timely remit the withheld funds to the IRS or (b) place
                                                                                                                            pla
                                                                                                                             lace the funds in
     552             escrow, at Seller’s expense, with an escrow agent selected by Buyer and pursuant to terms negotiated   nego
                                                                                                                               g tiated by the

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                                       STANDARDS FOR REAL ESTATE TRANSACTIONS (“STANDARDS”) CONTINUED
     553             parties, to be subsequently disbursed in accordance with the Withholding Certificate issued by the IRS or remitted
     554             directly to the IRS if the Seller’s application is rejected or upon terms set forth in the escrow agreement.
     555             (iv) In the event the net proceeds due Seller are not sufficient to meet the withholding requirement(s) in this
     556             transaction, Seller shall deliver to Buyer, at Closing, the additional COLLECTED funds necessary to satisfy the
     557             applicable requirement and thereafter Buyer shall timely remit said funds to the IRS or escrow the funds for
     558             disbursement in accordance with the final determination of the IRS, as applicable.
     559             (v) Upon remitting funds to the IRS pursuant to this STANDARD, Buyer shall provide Seller copies of IRS Forms
     560             8288 and 8288-A, as filed.
     561             W. RESERVED
     562             X. BUYER WAIVER OF CLAIMS: To the extent permitted by law, Buyer waives any claims against Seller
     563             and against any real estate licensee involved in the negotiation of this Contract for any damage or defects
     564             pertaining to the physical condition of the Property that may exist at Closing of this Contract and be
     565             subsequently discovered by the Buyer or anyone claiming by, through, under or against the Buyer. This
     566             provision does not relieve Seller’s obligation to comply with Paragraph 10(j). This Standard X shall survive
     567             Closing.
     568                                                        ADDENDA AND ADDITIONAL TERMS
     569       19. ADDENDA: The following additional terms are included in the attached addenda or riders and incorporated into this
     570           Contract (Check if applicable):
                    A. Condominium Rider           K. RESERVED                                T. Pre-Closing Occupancy
                    B. Homeowners’ Assn.           L. RESERVED                                U. Post-Closing Occupancy
                    C. Seller Financing            M. Defective Drywall                       V. Sale of Buyer’s Property
                    D. Mortgage Assumption         N. Coastal Construction Control            W. Back-up Contract
                    E. FHA/VA Financing                 Line                                  X. Kick-out Clause
                    F. Appraisal Contingency       O. Insulation Disclosure                   Y. Seller’s Attorney Approval
                    G. Short Sale                  P. Lead Paint Disclosure (Pre-1978)        Z. Buyer’s Attorney Approval
                    H. Homeowners/Flood Ins.       Q. Housing for Older Persons               AA. Licensee Property Interest
                    I. RESERVED                    R. Rezoning                                BB. Binding Arbitration
                    J. Interest-Bearing Acct.      S. Lease Purchase/ Lease Option            CC. Miami-Dade County
                                                                                                    Special Taxing District
                                                                                                    Disclosure
                                                                                              Other:____________________
                                                                                                     ____________________
                                                                                                     ____________________

     571       20. ADDITIONAL TERMS:Property to be delivered free and clear of all liens, code violations and any/all permit issues at sellers expense.
     572           __________________________________________________________________________________________
                   Property will be closed in a Family Trust - name TBD
     573           __________________________________________________________________________________________
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     588                                                               COUNTER-OFFER/REJECTION
     589                Seller counters Buyer’s offer (to accept the counter-offer, Buyer must sign or initial the counter-of
                                                                                                                   counter-offered
                                                                                                                           offffe
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                                                                                                                                ered terms and
     590             deliver a copy of the acceptance to Seller).
     591                Seller rejects Buyer’s offer.
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     592             THIS IS INTENDED TO BE A LEGALLY BINDING CONTRACT. IF NOT FULLY UNDERSTOOD, SEEK THE
     593             ADVICE OF AN ATTORNEY PRIOR TO SIGNING.

     594             THIS FORM HAS BEEN APPROVED BY THE FLORIDA REALTORS AND THE FLORIDA BAR.

     595             Approval of this form by the Florida Realtors and The Florida Bar does not constitute an opinion that any of the
     596             terms and conditions in this Contract should be accepted by the parties in a particular transaction. Terms and
     597             conditions should be negotiated based upon the respective interests, objectives and bargaining positions of all
     598             interested persons.

     599             AN ASTERISK (*) FOLLOWING A LINE NUMBER IN THE MARGIN INDICATES THE LINE CONTAINS A BLANK
     600             TO BE COMPLETED.
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                     Buyer: Christian Alexandre
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                                                                                                                  JIK0-J8LS-HJN0-PSYF   Date:

     602
       2             Buyer:                                                                                                             Date:

     603
       3             Seller:                                                                                                            Date:

     604
       4             Seller:                                                                                                            Date:

     605             Buyer’s address for purposes of notice                                 Seller’s address for purposes of notice
     606             ___________________________________________
                     _                                                                      ____________________________________________
     607             ___________________________________________
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     608             ___________________________________________
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     609             BROKER: Listing and Cooperating Brokers, if any, named below (collectively, “Broker”), are the only Brokers
     610             entitled to compensation in connection with this Contract. Instruction to Closing Agent: Seller and Buyer direct
     611             Closing Agent to disburse at Closing the full amount of the brokerage fees as specified in separate brokerage
     612             agreements with the parties and cooperative agreements between the Brokers, except to the extent Broker has
     613             retained such fees from the escrowed funds. This Contract shall not modify any MLS or other offer of compensation
     614             made by Seller or Listing Broker to Cooperating Brokers.

     615             ___________________________________________
                                       Gerry Contrino                                           __________________________________________
                                                                                                                    Larry Lebin
     616             Cooperating Sales Associate, if any                                        Listing Sales Associate

     617             ___________________________________________
                               Keller Williams Realty Professionals                             __________________________________________
                                                                                                                Armen Realty Inc
     618             Cooperating Broker, if any                                                 Listing Broker




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         Comprehensive Rider to the
         Residential Contract For Sale And Purchase
         THIS FORM HAS BEEN APPROVED BY THE FLORIDA REALTORS AND THE FLORIDA BAR

         If initialed by all parties, the clauses below will be incorporated into the Florida Realtors®/Florida Bar Residential Contract
         For Sale And Purchase between LCSA PROPERTIES LLC                                                                    (SELLER)
         and Christian Alexandre or assigns                                                                                    (BUYER)
         concerning the Property described as     701 Pine Dr, 111, Pompano Beach, FL 33060
         Canadian Ocean Breeze Condo Unit 111 Bldg 701

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                                                                      A. CONDOMINIUM RIDER

         1.    CONDOMINIUM ASSOCIATION APPROVAL:
               The Association’s approval of Buyer (CHECK ONE):             is     is not required. If approval is required, this Contract is
               contingent upon Buyer being approved by the Association no later than _______________   5          (if left blank, then 5) days
               prior to Closing. Within _______________
                                                   5          (if left blank, then 5) days after Effective Date Seller shall initiate the
               approval process with the Association and Buyer shall apply for such approval. Buyer and Seller shall sign and deliver
               any documents required by the Association in order to complete the transfer of the Property and each shall use
               diligent effort to obtain such approval, including making personal appearances if required. If Buyer is not approved
               within the stated time period, this Contract shall terminate and Buyer shall be refunded the Deposit, thereby releasing
               Buyer and Seller from all further obligations under this Contract.
         2.    RIGHT OF FIRST REFUSAL:
               (a) The Association (CHECK ONE):           has     does not have a right of first refusal (“Right”). If the Association has
                   a Right, this Contract is contingent upon the Association, within the time permitted for the exercise of such Right,
                   either providing written confirmation to Buyer that the Association is not exercising that Right, or failing to timely
                   exercise such Right pursuant to the terms of the Declaration of Condominium (“Declaration”, which reference
                   includes all amendments thereto).
               (b) The members of the Association (CHECK ONE):                have       do not have a Right. If the members do have a
                   Right, this Contract is contingent upon the members, within the time permitted for the exercise of such Right,
                   either providing written confirmation to Buyer that the members are not exercising that Right, or failing to timely
                   exercise such Right pursuant to the terms of the Declaration.
               (c) Buyer and Seller shall, within _______________
                                                            5          (if left blank, then 5) days after Effective Date, sign and deliver
                   any documents required as a condition precedent to the exercise of the Right, and shall use diligent effort to
                   submit and process the matter with the Association and members, including personal appearances, if required.
               (d) If, within the stated time period, the Association, the members of the Association, or both, fail to provide the
                   written confirmation or the Right has not otherwise expired, then this Contract shall terminate and the Deposit
                   shall be refunded to the Buyer, thereby releasing Buyer and Seller from all further obligations under this Contract.
               (e) If the Association or a member timely exercises its or their Right, this Contract shall terminate and the Deposit
                   shall be refunded to Buyer (unless this Contract provides otherwise), thereby releasing Buyer and Seller from all
                   further obligations under this Contract, and Seller shall pay to Broker the full commission at Closing in recognition
                   that Broker procured the sale.
         3.    FEES; ASSESSMENTS; PRORATIONS; LITIGATION:
               (a) Condominium Association assessment(s) and Rents: Seller represents that the current Association
                   assessment(s) installments is/are
                     $ _______________
                            320.00     payable (CHECK ONE):                    monthly        quarterly   semi-annually    annually
                     and if more than one Association assessment
                     $ _______________ payable (CHECK ONE):                    monthly        quarterly   semi-annually    annually
                     and the current rent on recreation areas, if any, is
                     $ _______________ payable (CHECK ONE):               monthly             quarterly   semi-annually    annually


         Page 1 of 3           A. CONDOMINIUM RIDER                                                                       (SEE CONTINUATION)
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                                                         A. CONDOMINIUM RIDER (CONTINUED)
                   All annual assessments levied by the Association and rent on recreational areas, if any, shall be made current by
                   Seller at Closing, and Buyer shall reimburse Seller for prepayments.
               (b) Fees: Seller shall, at Closing, pay all fines imposed against the Unit by the Condominium Association as of
                   Closing Date and any fees the Association charges to provide information about the Property, assessment(s) and
                   fees.

                     If Property is part of a Homeowners’ Association, see Rider B. HOMEOWNERS’
                     ASSOCIATION/COMMUNITY DISCLOSURE for further information including additional assessments and
                     fees.

               (c) Special Assessments and Prorations:
                   (i) Seller represents that Seller is not aware of any special or other assessment that has been levied by the
                       Association or that has been an item on the agenda, or reported in the minutes, of the Association within
                       twelve (12) months prior to Effective Date, (“pending”) except as follows:_


                   (ii) If special assessments levied or pending exist as of the Effective Date are disclosed above by Seller and may
                         be paid in installments (CHECK ONE):          Buyer       Seller (if left blank, then Buyer) shall pay installments
                         due after Closing Date. If Seller is checked, Seller shall pay the assessment in full prior to or at the time
                         of Closing.
                   (iii) If special assessments levied or pending exist as of the Effective Date and have not been disclosed above by
                         Seller, then Seller shall pay such assessments in full at the time of Closing.
                   (iv) If, after Effective Date, the Association imposes a special assessment for improvements, work or services,
                         which was not pending as of the Effective Date, then Seller shall pay all amounts due before Closing Date
                         and Buyer shall pay all amounts due after Closing Date.
                   (v) A special assessment shall be deemed levied for purposes of this paragraph on the date when the
                         assessment has been approved as required for enforcement pursuant to Florida law and the condominium
                         documents listed in Paragraph 5.
                   (vi) Association assets and liabilities, including Association reserve accounts, shall not be prorated.
               (d) Litigation: Seller represents that Seller is not aware of pending or anticipated litigation affecting the Property or the
                   common elements, if any, except as follows:



         4.    SPRINKLER SYSTEM RETROFIT:
               If, pursuant to Sections 718.112(2)(l), F.S., the Association has voted to forego retrofitting its fire sprinkler system or
               handrails and guardrails for the condominium units, then prior to Closing Seller shall furnish to Buyer the written notice
               of Association’s vote to forego such retrofitting.
         5.    NON-DEVELOPER DISCLOSURE:
               (CHECK ONE):
                  (a) THE BUYER HEREBY ACKNOWLEDGES THAT BUYER HAS BEEN PROVIDED A CURRENT COPY OF
               THE DECLARATION OF CONDOMINIUM, ARTICLES OF INCORPORATION OF THE ASSOCIATION, BYLAWS
               AND RULES OF THE ASSOCIATION, AND A COPY OF THE MOST RECENT YEAR-END FINANCIAL
               INFORMATION AND FREQUENTLY ASKED QUESTIONS AND ANSWERS DOCUMENT MORE THAN 3 DAYS,
               EXCLUDING SATURDAYS, SUNDAYS, AND LEGAL HOLIDAYS, PRIOR TO EXECUTION OF THIS CONTRACT.

                  (b) THIS AGREEMENT IS VOIDABLE BY BUYER BY DELIVERING WRITTEN NOTICE OF THE BUYER’S
               INTENTION TO CANCEL WITHIN 3 DAYS, EXCLUDING SATURDAYS, SUNDAYS, AND LEGAL HOLIDAYS,
               AFTER THE DATE OF EXECUTION OF THIS AGREEMENT BY THE BUYER AND RECEIPT BY BUYER OF A
               CURRENT COPY OF THE DECLARATION OF CONDOMINIUM, ARTICLES OF INCORPORATION, BYLAWS AND
               RULES OF THE ASSOCIATION, AND A COPY OF THE MOST RECENT YEAR-END FINANCIAL INFORMATION
               AND FREQUENTLY ASKED QUESTIONS AND ANSWERS DOCUMENT IF SO REQUESTED IN WRITING. ANY
               PURPORTED WAIVER OF THESE VOIDABILITY RIGHTS SHALL BE OF NO EFFECT. BUYER MAY EXTEND THE
               TIME FOR CLOSING FOR A PERIOD OF NOT MORE THAN 3 DAYS, EXCLUDING SATURDAYS, SUNDAYS, AND

         Page 2 of 3           A. CONDOMINIUM RIDER                                                               (SEE CONTINUATION)
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               LEGAL HOLIDAYS, AFTER THE BUYER RECEIVES THE DECLARATION, ARTICLES OF INCORPORATION,
               BYLAWS AND RULES OF THE ASSOCIATION, AND A COPY OF THE MOST RECENT YEAR-END FINANCIAL
               INFORMATION AND FREQUENTLY ASKED QUESTIONS AND ANSWERS DOCUMENT IF REQUESTED IN
               WRITING. BUYER’S RIGHT TO VOID THIS AGREEMENT SHALL TERMINATE AT CLOSING.


         6.    BUYER’S REQUEST FOR DOCUMENTS:
               Buyer is entitled, at Seller’s expense, to current copies of the condominium documents specified in Paragraph 5,
               above. Buyer (CHECK ONE):              requests     does not request a current copy of the documents specified in
               Paragraph 5, above. If this Contract does not close, Buyer shall immediately return the documents to Seller or
               reimburse Seller for the cost of the documents.
         7.    BUYER’S RECEIPT OF DOCUMENTS:
               (COMPLETE AND CHECK ONLY IF CORRECT)                                 Buyer received the documents described in Paragraph 5,
               above, on ___________________________________.
         8.    COMMON ELEMENTS; PARKING:
               The Property includes the unit being purchased and an undivided interest in the common elements and
               appurtenant limited common elements of the condominium, as specified in the Declaration. Seller’s right and interest
               in or to the use of the following parking space(s), garage, and other areas are included in the sale of the Property and
               shall be assigned to Buyer at Closing, subject to the Declaration:
               Parking Space(s) # ________ Garage # ________ Other: ___________________________________________
         9.    INSPECTIONS AND REPAIRS:
               The rights and obligations arising under Paragraphs 11 and 12 of this Contract to maintain, repair, replace or treat are
               limited to Seller’s individual condominium unit and unless Seller is otherwise responsible do not extend to common
               elements, limited common elements, or any other part of the condominium property.
         10. GOVERNANCE FORM:
             PURSUANT TO CHAPTER 718, FLORIDA STATUTES, BUYER IS ENTITLED TO RECEIVE FROM SELLER A
             COPY OF THE GOVERNANCE FORM IN THE FORMAT PROVIDED BY THE DIVISION OF FLORIDA
             CONDOMINIUMS, TIMESHARES AND MOBILE HOMES OF THE DEPARTMENT OF BUSINESS AND
             PROFESSIONAL REGULATION, SUMMARIZING THE GOVERNANCE OF THE CONDOMINIUM ASSOCIATION.




         Page 3 of 3           A. CONDOMINIUM RIDER
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         Comprehensive Rider to the
         Residential Contract For Sale And Purchase
         THIS FORM HAS BEEN APPROVED BY THE FLORIDA REALTORS AND THE FLORIDA BAR

         If initialed by all parties, the clauses below will be incorporated into the Florida Realtors®/Florida Bar Residential Contract
         For Sale And Purchase between LCSA PROPERTIES LLC                                                                    (SELLER)
         and Christian Alexandre or assigns                                                                                    (BUYER)
         concerning the Property described as 701 Pine Dr, 111, Pompano Beach, FL 33060
        Canadian Ocean Breeze Condo Unit 111 Bldg 701
                                             CA
         Buyer’s Initials              ___________
                                           06/26/19            ___________            Seller’s Initials   __
                                                                                                          ___________
                                                                                                                _____   __________
                                                                                                                        ________ _
                                             4:43 PM EDT
                                            dotloop verified

                                                                  P. LEAD-BASED PAINT DISCLOSURE
                                                                          (Pre-1978 Housing)

                                                                   Lead-Based Paint Warning Statement
         “Every purchaser of any interest in residential real property on which a residential dwelling was built prior to 1978 is notified that
         such property may present exposure to lead from lead-based paint that may place young children at risk of developing lead
         poisoning. Lead poisoning in young children may produce permanent neurological damage, including learning disabilities,
         reduced intelligence quotient, behavioral problems, and impaired memory. Lead poisoning also poses a particular risk to
         pregnant women. The seller of any interest in residential real property is required to provide the buyer with any information on
         lead-based paint hazards from risk assessments or inspection in the seller’s possession and notify the buyer of any known lead-
         based paint hazards. A risk assessment or inspection for possible lead-based paint hazards is recommended prior to purchase.”
         Seller’s
         S
         Se
          eller’s Disclosure (INITIAL)
         ___________ (a) Presence of lead-based paint or lead-based paint hazards (CHECK ONE BELOW):
                              Kn
                              K
                              Known
                               n
                               nown lead-based paint or lead-based paint hazards are present in the housing.
                              S
                              Seller
                               eller has no knowledge of lead-based paint or lead-based paint hazards in the housing.
         ___________ (b) Records and reports available to the Seller (CHECK ONE BELOW):
                              Seller has provided the Buyer with all available records and reports pertaining to lead-based paint or
                          lead-based paint hazards in the housing. List documents: ____________________________________

                             S
                             Se
                             Seller
                                ller has no reports or records pertaining to lead-based paint or lead-based paint hazards in the
                         housing.
                         h ousing.
         Buyer’s Acknowledgement (INITIAL)
         ___________ (c) Buyer has received copies of all information listed above.
         CA
         ___________ (d)
       08/04/19                       Buyer has received the pamphlet Protect Your Family from Lead in Your Home.
     9:300 AM
            M ED
              EDT
         CA
    dotloop verified
         ___________ (e)
       08/04/19                 Buyer has (CHECK ONE BELOW):
     9:30 AM EDT
    dotloop verified                  Received a 10-day opportunity (or other mutually agreed upon period) to conduct a risk assessment
                                or inspection for the presence of lead-based paint or lead-based paint hazards; or
                                     Waived the opportunity to conduct a risk assessment or inspection for the presence of lead-based
                                paint or lead-based paint hazards.
         Licensee’s Acknowledgement (INITIAL)
         ___________
         _                _ (f) Licensee has informed the Seller of the Seller’s obligations under 42 U.S.C. 4852(d) and is aware of
                                Licensee’s responsibility to ensure compliance.
         Cert
            rttif
            rtif
               ification of Accuracy
         Certification         Accurac  a y
         Thee following
               ffo
                 ollowing parties havehave
                                      ha  v reviewed the information above and certify, to the best of their knowledge, that the information
         th
          heyy hav
         they   haveve pr
                       p rov
                          o id
                            ide
                       provideded
                                d iis
                                    s ttrue
                                        rue
                                          ea nd
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                                                                                                                                   dotloop
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                                                                                                                                              ifi d
                                                                                     Christian Alexandre                       06/26/19 4:43 PM EDT
         _____________________________ _______________                               _____________________________        _______________
                                                                                                                               FTZ2-WSWF-4EE5-3DU3

         SELLER
         SE
         SELLER  R                     D atte
                                         a
                                        Date                                         BUYER                                Date
         _____________________________ _______________                               _____________________________        _______________
         SELLER                        Date                                          BUYER                                Date ddotloop
                                                                                                                                   l    verified
                                                                                                                                           ifi d
         _____________________________ 8/5/19
                                        _______________                              _____________________________
                                                                                     Gerry Contrino                       _______________
                                                                                                                                06/26/19 5:19 PM CDT
                                                                                                                                M5AT-IAM0-GHUI-XFKL
         Listing Licensee              Date                                          Selling Licensee                     Date
         Any person or persons who knowingly violate the provisions of the Residential Lead-Based Paint Hazard Reduction Act of
         1992 may be subject to civil and criminal penalties and potential triple damages in a private civil lawsuit.
         Page 1 of 1            P. LEAD-BASED PAINT DISCLOSURE
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                                                         Addendum to Contract
        Date of Contract: 08/05/2019
        Seller: LCSA Properties, LLC
        Buyer(s): Christian Alexandre or assigns
        Property Address: 701 Pine Drive, Unit 111, Pompano Beach FL

        1.        THIS ADDENDUM IS MADE AND ENTERED ON THE DATE SET FORTH
        2.        BETWEEN SELLER AND BUYER. SELLER AND BUYER AGREE AS FOLLOWS:
        3.        The terms set forth herein are incorporated as a part of the contract for sale and purchase (“The Contract”) to which
        4.        this addendum is attached. In the event of any inconsistency or conflict between this addendum and The Contract,
        5.        the terms of this addendum shall prevail and control.
        6.        The property being offered for sale will be is purchased is in “as is, where is” condition. Seller makes no
        7.        representations, warranties or guaranties concerning the condition of the property, including but not limited to
        8.        mechanical systems, wastewater disposal, foundation or structure.
        9.        Seller will make no repairs to the property after entering into this contract unless otherwise agreed in writing.
        10.       Unless buyer exercises the right to terminate granted herein during the inspection period, buyer accepts the
        11.       physical condition of the property.
        12.       Seller has only front door key and has no other keys or fobs related to the property (i.e. pool, recreation areas,
        13.       mailbox, etc.). Buyer will obtain any keys and/or fobs needed at buyer’s expense.
        14.       Seller DOES NOT have condo docs. Buyer must obtain copy/copies at Buyer’s expense.
        15.       By reviewing this notice, buyer(s) understands that the seller has acquired title to this property through foreclosure
        16.       and has never occupied the property, nor can the seller warrant any items/property personal or real. Seller has never
        17.       occupied property and makes no disclosure.
        18.       The agreement is contingent upon seller having vested title.
        19.       Buyer shall have 5 calendar days to have inspections done to the property. At any time within the inspection time
        20.       period, buyer finds the property unsuitable, buyer must notify seller and/or seller’s agent in writing and
        21.       the Contract will be null and void pursuant to those terms set forth in The Contract.
        22.       Seller shall convey title to the real property by special warranty deed.
        23.       Buyer and seller agree to use David A. Coven, PA, 2856 East Oakland Park Blvd., Fort Lauderdale FL, 33306 as
        24.       escrow, title and closing agent.
        25.       Seller will provide affirmation or ledger from Condo Association (where applicable) showing that no monies
        26.       are owed. If Seller cannot provide affirmation or ledger, then ordered estoppel(s) will be at Seller’s expense.
        27.       Additional ordered estoppels will be at Buyer’s expense.
        28.       Buyer will pay customary Buyer’s closing costs,
        29.       Seller will pay Seller’s doc stamps, title search and owner’s title insurance, real estate sales
        30.       commissions and tax and maintenance prorations.

                                                                                 dotloop verified

        Buyer:        Christian Alexandre                            Date:
                                                                                 08/04/19 9:30 AM EDT
                                                                                 CMHQ-1UVC-WJGD-SW5V

        PRINT NAME: Christian             Alexandre

        Buyer:                                                       Date:
        PRINT NAME:




        Seller:                                                      Date:
                     Leopold Dee, MM, LCSA Properties, LLC
